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                         EXHIBIT D
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                                                                     Sale Date: June 25, 2024 at 10:30 a.m.

LaMONICA HERBST & MANISCALCO, LLP
Counsel to Lori Lapin Jones, as Chapter 7 Trustee
3305 Jerusalem Avenue, Suite 201
Wantagh, New York 11793
Telephone: (516) 826-6500
Gary F. Herbst, Esq.
Holly R. Holecek, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                               Chapter 7

143-30 SANFORD AVE LLC,                                              Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

           NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST OF
                    CHAPTER 7 TRUSTEE’S INTENDED SALE

        PLEASE TAKE NOTICE that, by Order dated ______________, 2024 (“Authorization
Order”), the United States Bankruptcy Court for the Eastern District of New York entered an Order
authorizing, among other things, the public auction sale of the real property and improvements
located at 143-30 Sanford Avenue, Flushing, New York 11355 (“Property”) by Lori Lapin Jones,
solely in her capacity as Chapter 7 Trustee (“Trustee”) of the estate of 143-30 Sanford Ave LLC
(“Debtor”).

       PLEASE TAKE FURTHER NOTICE that the Property consists of an approximately
59,231 square foot apartment building that is currently partially occupied with tenants.

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Authorization Order,
the Trustee, through her retained real estate broker, MYC & Associates, Inc. (“Broker”), will
conduct a public auction sale of the Property by Zoom on Tuesday, June 25, 2024 at 10:30 a.m.
(Eastern) (“Sale”).

       PLEASE TAKE FURTHER NOTICE that the Sale is being conducted pursuant to the
Authorization Order and sections 363 (b), (d), (f) and (m) of title 11 of the United States Code
(“Bankruptcy Code”), free and clear of all Interests (as defined below).

        PLEASE TAKE FURTHER NOTICE that, to register for the Sale and bid on the
Property, on or before 5:00 p.m. on Monday, June 24, 2024, each prospective bidder (other than
Sanford Funding LLC) must deliver to the Trustee at 98 Cutter Mill Road, Suite 255 South, Great
Neck, New York 11021: (i) a certified or bank check payable to “Lori Lapin Jones, as Trustee” in
the amount of five hundred thousand dollars ($500,000) (“Qualifying Deposit”), which amount
shall serve as a good faith deposit against payment of the purchase price for the Property; and (ii)
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Terms and Conditions of Sale executed by such prospective bidder. The Trustee reserves the right
to reject any bidder (other than Sanford Funding LLC) who, in the sole discretion of the Trustee,
the Trustee believes is not financially capable of consummating the purchase of the Property.

       PLEASE TAKE FURTHER NOTICE that the highest bidder (“Highest Bidder”) and
the second highest bidder (“Second Highest Bidder”) must also execute, and thereby agree to be
bound by, a Memorandum of Sale. Within two business days after the conclusion of the Sale, the
Trustee or her representative will return the Qualifying Deposits to all bidders except the Highest
Bidder and the Second Highest Bidder.

       PLEASE TAKE FURTHER NOTICE that the Highest Bidder or, as applicable, the
Second Highest Bidder (other than Sanford Funding LLC) shall be solely responsible to pay the
Trustee’s retained Broker’s four (4%) percent of the amount bid by the Highest Bidder or, as
applicable, the Second Highest Bidder at the Sale (such percentage amount being the “Buyer’s
Premium”). The sum of the amount bid at the Sale and the Buyer’s Premium is defined herein as
the “Purchase Price”.

        PLEASE TAKE FURTHER NOTICE that, by 5:00 p.m. on Wednesday, June 26,
2024, the Highest Bidder (other than Sanford Funding LLC) shall deliver to the Trustee, by
certified check, bank check, or wire transfer an amount equal to 10% of the Purchase Price minus
the amount of the Qualifying Deposit, as and for a good faith deposit (such amount, plus the
Qualifying Deposit, hereinafter “Deposit”).

       PLEASE TAKE FURTHER NOTICE that the Highest Bidder (other than Sanford
Funding LLC) must pay the balance of the Purchase Price to the Trustee by wire transfer at the
closing of title to the Property (“Closing”).

       PLEASE TAKE FURTHER NOTICE that the Highest Bidder must close title to the
Property on or before 3:00 p.m. on July 23, 2024 (“Closing Date”), TIME BEING OF THE
ESSENCE as to the Highest Bidder, although such date may be extended solely by the Trustee.
The Closing shall take place on or before the Closing Date at the offices of the attorneys for the
Trustee, LaMonica Herbst & Maniscalco LLP, 3305 Jerusalem Avenue, Wantagh, New York
11793 or by mail, as elected by the Trustee.

       PLEASE TAKE FURTHER NOTICE that the Property is being sold:

               (i)    “AS IS” “WHERE IS”, “WITH ALL FAULTS,” without any
                      representations, covenants, guarantees or warranties of any kind or nature
                      whatsoever;

               (ii)   free and clear of any and all monetary interests of whatever kind or nature
                      including, but not limited to, liens, claims, encumbrances, monetary fines
                      or penalties for violations, judgments and/or mortgages (collectively,
                      “Interests”), with such Interests, if any, to attach to the proceeds of sale in
                      such order and priority as they existed immediately prior to the entry of the
                      Order for Relief against the Debtor; and
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               (iii)   subject to, among other things:

                       (a) any occupancies and/or tenancies;

                       (b) any state of facts that an accurate survey may show;

                       (c) any state of facts a physical inspection may show;

                       (d) any covenants, restrictions and easements of record;

                       (e) any building or zoning ordinances or other applicable municipal
                       regulations and violations thereof;

                       (f) environmental conditions; and

                       (g) the conditions giving rise to any and all non-monetary violations
                       existing on the Property as of the Closing Date.

        PLEASE TAKE FURTHER NOTICE pursuant to the Authorization Order and section
363(k) of the Bankruptcy Code, Sanford Funding LLC may credit bid for the Property at the Sale
and: (i) shall in all events be deemed a qualified bidder at the Sale and be permitted to bid at the
Sale; (ii) shall not be required to pay a Qualifying Deposit or any other Deposit any kind
whatsoever, and (iii) shall not be required to pay a Buyer’s Premium.

        PLEASE TAKE FURTHER NOTICE that a hearing to confirm the results of the Sale is
scheduled for June 27, 2023 at 10:30 a.m. (“Sale Confirmation Hearing”), before the Honorable
Nancy Hershey Lord, United States Bankruptcy Judge, but may be adjourned or rescheduled by
the Trustee. The Sale Confirmation Hearing will be a teleconference and will be conducted through
the Zoom for Government platform. To participate in the Sale Confirmation Hearing, all
participants must register with eCourt Appearances in advance of the Sale Confirmation Hearing.
eCourt Appearances registration is required by both attorneys and non-attorney participants.
Attorneys with a CM/ECF account may find the program under the “Utilities” menu after logging
on to CM/ECF. Those without CM/ECF accounts may access the program on the website at
https://ecf.nyeb.uscourts.gov/cgi-bin/nyebAppearances.pl. Those unable to access eCourt
Appearances must email Judge Nancy Hershey-Lord’s Courtroom Deputy at:
nhl_hearings@nyeb.uscourts.gov at least two (2) business days prior to the Sale Confirmation
Hearing. Your email must include your name, the case number(s), who you represent (if you are
an attorney), Hearing date, and phone number.
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       PLEASE TAKE FURTHER NOTICE that any requests for additional information about
the Property, including requests for the terms and conditions of sale, may be obtained by contacting
the Trustee’s Broker or the Trustee’s counsel listed below.

Dated: ______________, 2024
                                         MYC & Associates, Inc.
                               Marc P. Yaverbaum & Victor Moneypenny
                                       1110 South Avenue, Ste. 22
                                     Staten Island, New York 10314
                                       Telephone: (347) 273-1258
                             Email: my@myccorp.com & vm@myccorp.com

                                 Lori Lapin Jones, as Chapter 7 Trustee
                                 c/o LaMonica Herbst & Maniscalco, LLP
                                          Holly R. Holecek, Esq.
                                     3305 Jerusalem Avenue, Suite 201
                                        Wantagh, New York 11793
                                        Telephone: (516) 826-6500
                                       Email: hrh@lhmlawfirm.com
